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Attorney for Plaintiff


                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON


  ROBERT WARREN,                                                                3:16-cv-02162-SI
         Plaintiff,
                                                                    ORDER FOR ATTORNEY
          v.                                                   FEES UNDER 42 U.S.C. § 406(b)

  COMMISSIONER OF SOCIAL SECURITY,
        Defendant.




       The court finds and orders an attorney fee of $15,864.25 pursuant to 42 U.S.C. § 406(b).

Such funds shall be paid to Schneider, Kerr & Robichaux, PO Box 14490, Portland, OR 97293.

The attorney fee of 4,560.73 allowed pursuant to the Equal Access to Justice Act, minus the

$350.84 seized by the Treasury, will be refunded to Plaintiff upon counsel’s receipt of the allowed

406(b) fee awarded.

                   19th day of ____________________,
       Dated this _______       October              2020.




                                                       /s/ Michael H. Simon
                                                     ________________________________
                                                     Judge Michael H. Simon
                                                     United States District Court Judge
